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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK
_______________________________________________

UNITED STATES OF AMERICA,



                                       Plaintiff,

                                                                       SCHEDULING ORDER

                                                                       05-CR-6161L

                       v.

CONSTANCE ROEDER, et al.,



                              Defendants.
________________________________________________


       Proceedings are still pending concerning the Government’s request for criminal forfeiture

of both real property and personal property owned, controlled, or in the possession of either

defendant John Nicolo or defendant Constance Roeder. Defendant, Constance Roeder, asserts that

several items which the Government seeks to forfeit are not subject to forfeiture.

       Attorneys for the Government and for Ms. Roeder have now apparently completed discovery

and based on the Court’s conference with counsel on July 19, 2010, the following schedule shall

control the prosecution and trial of this ancillary proceeding:

       1. Summary judgment motions, if any, must be filed on or before September 13, 2010.

       2. Ms. Roeder must respond on or before October 4, 2010.

       3. The Court will hold argument on the motion on October 13, 2010 at 10 a.m.
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       If the matter is not resolved by the above proceedings, the Court hereby schedules trial and

a hearing on November 8, 2010 at 9 a.m.

       IT IS SO ORDERED.



                                     _______________________________________
                                              DAVID G. LARIMER
                                            United States District Judge
Dated: Rochester, New York
       July 20, 2010.




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